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                 Exhibit A
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,      )
                               )
               Plaintiff,      )
                               )
          v.                   ) Civ. No. 1:24-cv-02010-WMR-JEM
                               )
COBB COUNTY, GEORGIA,          )
                               )
               Defendant.      )
_______________________________)

                               CONSENT DECREE

I.    INTRODUCTION

      This Consent Decree (“Decree”) is entered into between Plaintiff, the United

States of America (“United States” or “Plaintiff”), through the Department of

Justice, and Defendant, Cobb County, Georgia (“County” or “Defendant”), which is

a governmental body established pursuant to the laws of Georgia. Plaintiff and

Defendant are collectively referred to as the “Parties.” This Court has jurisdiction of

this action pursuant to 42 U.S.C. § 2000e-6(b), and 28 U.S.C. § 1331 and § 1345.

      The Complaint in this case alleges that the Defendant’s use, through the Cobb

County Fire Department (“CCFD”), of a written examination as a rank-order

screening device in 2020 and a credit check between 2016 and 2020 to screen and

select candidates for firefighter positions at the CCFD resulted in an impermissible

disparate impact on African-American candidates in its selection process for
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firefighter positions in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e, et seq. (“Title VII”). No allegation is made that

Defendant intentionally discriminated against African-American applicants through

its hiring processes or otherwise. Moreover, Defendant denies the allegations as to

impermissible disparate impact or that it has violated the law in any way.

        The Parties have negotiated a resolution to this dispute, however, without any

admission by Cobb County. As a result of their negotiations, the Parties now desire

that this action be settled by an appropriate Decree, to avoid the expenses, burdens,

and risks of protracted litigation, and agree to the jurisdiction of this Court over the

Parties and the subject matter of this action. This Decree, being entered into with the

consent of the Parties, shall in no way constitute an adjudication or finding on the

merits of the case. Subject to the Court’s approval of this Decree, the Parties waive

findings of fact and conclusions of law on the merits of the case. This settlement, as

reflected in this Decree and its appendices, is fair, reasonable, adequate, and

consistent with federal law.

        In resolution of this action, the Parties hereby AGREE to, and the Court

expressly APPROVES, ENTERS and ORDERS the following:

   I.        PARTIES AND DEFINITIONS

        1.     “Days” refers to calendar days unless specifically designated as

“business days.” “Business days” excludes Saturdays, Sundays, and federal, state,


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and local holidays. If any deadline referenced in this Decree falls on a weekend or

federal holiday, the deadline will be moved to the next business day.

      2.     “Date of Provisional Entry” refers to the date this Decree is

provisionally entered by the Court.

      3.     “Date of Final Approval” refers to the date on which the Court enters

the Decree as a final order at or after the Fairness Hearing on the Terms of the

Decree, as set forth in Paragraph 24 of this Decree.

      4.     “Parties” refers collectively to the Plaintiff United States of America

and Defendant Cobb County, Georgia.

      5.     “ACCUPLACER” refers to the written examination used by the County

for its firefighter selection process from 2020 to the present.

      6.     “Credit check” refers to the County’s review of a firefighter candidate’s

credit history as part of its firefighter selection process, which occurred between

2016 and 2020.

      7.     “Class Member” means an African-American applicant for a CCFD

firefighter position who (a) passed the ACCUPLACER examination in 2020 and

scored below 89.22 (the lowest score of a candidate hired); and/or (b) was removed

from the firefighter selection process due to the credit check at any time from 2016

through 2020 and who was otherwise eligible for employment with CCFD, and who

is eligible for relief under this Decree.


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      8.     “Claimant” means a Class Member who submits a claim in accordance

with Section 35 of this Decree.

      9.     “Priority Hire” means a Claimant who (a) is eligible for Priority Hire

Relief; (b) is qualified to be a firefighter by the County by way of successfully

completing CCFD’s firefighter screening and selection procedures that are then in

effect and required of all other firefighter applicants subject to the limitation in

Paragraph 40; and (c) accepts an offer of priority hire pursuant to Paragraph 81.

      10.    “Back Pay Relief” means a monetary award that represents the value of

some of the wages that the United States alleges a Claimant would have received

from the County if he or she had not been disqualified by the County’s rank-order

use of the 2020 ACCUPLACER written exam or the credit check and had been hired

into the firefighter position for which he or she previously applied. Back Pay Relief

for a Claimant cannot exceed the value of compensation and benefits such Claimant

would have received had he or she not been disqualified and instead had been hired

by CCFD.

      11.    “Priority Hire Relief” means the opportunity for a Claimant to

participate in the firefighter selection process as a potential Priority Hire and receive

an award of Retroactive Seniority.

      12.    “Retroactive Seniority Date” refers to the date a Class Member would

have commenced work as a firefighter upon entry into the CCFD Academy if he or


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she had not been disqualified by the rank-order use of the ACCUPLACER written

examination or the credit check.

       13.   “Retroactive Seniority” refers to seniority credit in the firefighter

position that a Priority Hire is entitled to receive under this Decree, which is

determined using the Retroactivity Seniority Date for the purposes specified in this

Decree. Specifically, Retroactive Seniority applies only to a Priority Hire’s seniority

for purposes of calculating a Priority Hire’s regular rate of pay pursuant to the

CCFD’s Fire Step and Grade Grid (and any other types of pay calculated based on

the regular rate), accrual of annual leave and any other leave accrued based on

seniority, determining the order for layoffs/reductions in work force, and

determining the order for recalling firefighters from layoffs/reductions in work

force. For all other purposes, a Priority Hire’s actual hire date with CCFD shall be

his or her seniority date (or as otherwise may be provided under CCFD’s generally

applicable policies, procedures, and benefits plans). Retroactive Seniority shall not

be used to satisfy any applicable probationary periods or any time-in-grade

minimums required to be eligible for promotions.

II.    FAIRNESS HEARING ON THE TERMS OF THE DECREE

       A.    Provisional Entry of the Decree

       14.   Within fifteen (15) days after the execution of this Decree, the Parties

shall file a joint motion with the Court requesting that the Court (i) provisionally


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approve this Decree; (ii) schedule a hearing to determine whether this Decree is fair,

reasonable, adequate, and consistent with federal law (the “Fairness Hearing on the

Terms of the Decree”); and (iii) stay all other case deadlines.

      15.    The Parties will request that the Court provide at least one hundred

twenty (120) days’ notice of the date and time for the hearing and that the hearing

be scheduled at a time mutually convenient for the Court and counsel for the parties.

      16.    The purpose of the Fairness Hearing on the Terms of the Decree, and

the related notification provisions of this Decree, is to provide notice and an

opportunity to object to persons who may be affected by the terms of the Decree, in

accordance with Section 703(n) of Title VII.

      17.    The United States shall retain a claims administrator with respect to the

claims administration process described below. Any costs relating to the claims

administrator shall be paid by the United States. The United States shall ensure that

all obligations set out in the Decree for the claims administrator are completed as

specified. The County shall be copied on all substantive and/or written

communications between the United States and the claims administrator related to

the obligations set out in the Decree for the claims administrator.

      B.     Notice of Settlement to Claimants

      18.    No later than fifteen (15) days after the date the Parties execute this

Decree, Defendant shall provide the United States with a list of names of all Class


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Members (the “Class Member List”), including each Class Member’s last known

mailing address, email addresses, phone number, date of birth, and Social Security

number (if known). Defendant shall indicate on the Class Member List whether the

individual’s placement on the list is due to his or her score on the ACCUPLACER

or his or her failing the credit check (or both). If the individual on the Class Member

List took the ACCUPLACER exam, he or she will be presumed to have taken it on

October 23, 2020. If the individual on the Class Member List failed the credit check,

Defendant shall list the month and year in which the individual failed the credit

check.

      19.    The claims administrator shall provide a copy of a Notice of Settlement

and Fairness Hearing on the Terms of the Decree, Instructions for Filing an

Objection, and a blank Objection form (“Notice Documents”), in a format materially

the same as set forth in Appendix A, no later than ninety (90) days prior to the

Fairness Hearing on the Terms of the Decree via electronic mail (if known) and First-

Class Mail to the last known email and mailing address of each Class Member. If

the notice sent by U.S. mail is returned as undeliverable, the United States will

conduct a reasonable search for alternative addresses and promptly mail the notice

to the alternative addresses by First-Class Mail, return receipt requested.

      C.     Notice of Settlement to Other Interested Parties and Organizations

      20.     No later than ninety (90) days prior to the Fairness Hearing on the


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Terms of the Decree, Defendant shall post a Notice of Settlement and the Fairness

Hearing on the Terms of the Decree, in a format materially the same as set forth in

Appendix B, on bulletin boards at CCFD stations and on CCFD’s intranet. The

posted notice shall include a publicly accessible link from which the Notice

Documents and the Decree can be accessed. This publicly accessible link and notice

shall remain posted for the ninety (90) day period prior to the Fairness Hearing on

the Terms of the Decree.

      21.    The United States may publish notice in publications and/or on the

internet in a format materially the same as set forth in Appendix B to alert interested

parties of the Fairness Hearing and opportunity to object.

      D.     Objections to Entry of the Decree

      22.    Any person who wishes to object to the Decree on the ground that it is

not fair, reasonable, adequate, or consistent with federal law must file a timely

objection in accordance with the requirements set forth in Appendix A and this

Decree. Objections must be emailed or mailed and postmarked to the claims

administrator no later than thirty (30) days prior to the date set for the Fairness

Hearing on the Terms of the Decree. Any person who fails to meet that deadline

shall be deemed to have waived any right to object to the terms of this Decree, except

for good cause as determined by the United States. The United States shall promptly,

and on a rolling basis, email copies of all objections it receives to the County.


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         23.   No later than ten (10) days prior to the Fairness Hearing on the Terms

of the Decree, the United States shall file with the Court copies of all objections

received. The United States will redact objectors’ addresses, telephone numbers, and

email addresses, as well as any other information required by the Court’s General,

Standing, and Administrative Orders, including Standing Order 19-01, but shall

provide unredacted copies to the County. No later than ten (10) days prior to the

Fairness Hearing on the Terms of the Decree, the Parties shall file their responses, if

any, to all timely objections received.

         E.    Final Entry of the Decree

         24.   If the Court determines that the terms of this Decree are fair, reasonable,

adequate, and consistent with federal law, the Court shall give final approval to this

Decree at or following the Fairness Hearing on the Terms of the Decree.

III.     EQUITABLE RELIEF

         A.    Prohibition Against Resuming Rank-Order Use of Accuplacer

         25.   Defendant, by and through its officials, agents, employees, and all other

persons in active concert or participation with Defendant in the performance of

employment or personnel functions, shall not use the ACCUPLACER as a rank-

order selection device.




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      B.     Prohibition Against Resuming Use of Credit Check

      26.    Defendant has not used a credit check to screen out candidates since

2020. Defendant shall not resume using a credit check as part of its selection process

for firefighters and shall no longer obtain the credit history or in any way consider

the credit history of an applicant for the firefighter position in making hiring

decisions.

      C.     Prohibition Against Retaliation

      27.    Defendant, by and through its officials, agents, employees, and all other

persons in active concert or participation with Defendant in the performance of

employment or personnel functions, shall not threaten to retaliate against, or retaliate

against, or take any action that might deter a reasonable person from asserting rights

protected by equal employment opportunity laws, including Title VII, because that

person has taken advantages of rights provided by this Consent Decree or has

testified, assisted, or participated in any manner in any investigation, proceeding, or

hearing related to the implementation of this Decree.

      D.     Changes or Modifications to Firefighter Selection Process

      28.    In the event that the County wishes to change or modify its current

pass-fail use of the ACCUPLACER written exam in its firefighter selection process,

it will provide such proposed changes and relevant materials related to such changes

to the United States in writing at least ninety (90) days before the effective change


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or modification for review and approval by the United States. The United States shall

have thirty (30) days to review the changes or modification and raise any objections

if it believes the change or modification conflicts with Title VII and/or this Decree.

The Parties agree to make a good faith effort to confer regarding any disagreements

concerning the submitted employment practices prior to initiating the dispute

resolution provisions of Paragraph 89.

        E.    Decree Compliance Officer

        29.   No later than thirty (30) days after the Date of Provisional Entry, the

County shall designate a Decree Compliance Officer who may be a County

employee. The Compliance Officer shall provide bi-annual written reports on the

status of the implementation of this Decree to the United States, through the County

Attorney’s office, during the period that this Decree is in effect. The Compliance

Officer shall include in these bi-annual reports any complaints of (i) discrimination

on the basis of race arising from the County’s screening of applicants for firefighter

positions and (ii) retaliation prohibited by Paragraph 27 above.

IV.     INDIVIDUAL RELIEF

        A.    Two Forms of Individual Relief

        30.   Defendant shall be obligated to provide individual relief to Claimants

in the form of Back Pay Relief and/or Priority Hire Relief as described below.




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      B.     Total Back Pay Relief

      31.    Defendant shall pay a total amount of $750,000 in Back Pay Relief to

be distributed to Claimants under the terms of this Decree. Within twenty-five (25)

days of the Date of Provisional Entry, the claims administrator shall create an

interest-bearing Qualified Settlement Fund (“QSF”) and shall provide Defendant

with information necessary for Defendant to deposit the $750,000 into the QSF.

Within ten (10) days of receiving information on the QSF from the claims

administrator, Defendant shall deposit $750,000 into the QSF. Each Claimant shall

be eligible to receive a pro rata share of the Back Pay Relief, as determined by the

United States, based upon the date he or she was initially screened from employment

by CCFD because of a credit check or passing ranked-order ACCUPLACER test

score. No Claimant shall receive Back Pay Relief in excess of the Claimant’s make

whole relief, which is defined as the value of the compensation and benefits such

Claimant would have received had he or she been hired by the County instead of

being disqualified via the credit check or rank-order ACCUPLACER testing.

      C.     Priority Hire Relief

      32.    Defendant shall make up to sixteen (16) Priority Hires from Claimants

eligible for Priority Hire Relief for the position of firefighter, in accordance with this

paragraph and the procedures described in Paragraphs 40 and 73-85. Up to ten (10)

Priority Hires shall come from the pool of eligible Claimants who were previously


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disqualified from employment based upon their credit history, and up to six (6)

Priority Hires shall come from the pool of eligible Claimants who were previously

disqualified from employment based upon the rank-ordering of the 2020

ACCUPLACER test.

V.     INTEREST-IN-RELIEF PROCESS AND CLAIMS PROCEDURE

      i.     Notice of Entry of Decree to Class Members

       33.   Within thirty (30) days after the Date of Final Approval of the Decree,

the claims administrator shall send each Class Member by email (if known) and first-

class mail a copy of the Notice of Final Approval of Settlement and an Interest-in-

Relief Form, in a format materially the same as set forth in Appendix C to this

Decree, with a self-addressed return envelope.

       34.   The United States shall conduct a reasonable search for an alternative

mailing address for any Class Member whose mailed notice is returned as

undeliverable and for whom the United States receives no confirmation of email

receipt. The claims administrator will promptly re-mail the notice and Interest-in-

Relief form to the alternative address(es) for that Class Member, using First-Class

Mail with a self-addressed return envelope.

     ii.     Submission of Interest-in-Relief Forms

       35.   Only Claimants are eligible to receive individual relief. A Class

Member becomes a Claimant by timely submitting a completed Interest-in-Relief


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form to the claims administrator within thirty (30) days from the date the form is

mailed to the Class Member via U.S. mail. Any Class Member who fails to return

an Interest-in-Relief Form by the deadline shall be deemed to have waived any right

to be considered for an award of individual relief under this Decree, except for “good

cause” as determined by the United States; provided, however, that the United States

(1) may not make a good cause exception to eligibility for Back Pay Relief if the

Back Pay Relief described in Paragraph 31 is exhausted; and (2) may not make a

good cause exception to eligibility for Priority Hire Relief if at the time the Interest-

in-Relief Form is received it is no longer feasible to offer additional Priority Hire

Relief based on the timelines set forth in this Decree and/or the County’s normal

hiring processes and procedures. “Good cause” shall mean that the potential

Claimant did not timely return his/her completed Interest-in-Relief form to the

claims administrator for reasons outside of his or her control and not as the result of

inadvertence, carelessness, or neglect. A Claimant will only receive the type(s) of

relief that she/he requests on her/his form, and for which she/he is eligible pursuant

to the terms of this Decree.

      36.    The United States will assign a Claimant ID number to each individual

who submits an Interest-in-Relief form.




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   iii.      Determination of Claimants’ Eligibility for Individual Relief

      37.    The United States will preliminarily determine whether a Claimant is

eligible for individual relief under this Decree, subject to the objection and Court

approval process outlined below.

      38.    A Claimant is eligible for back pay relief if:

             a.     The Claimant is African-American;

             b.     The Claimant (i) passed the ACCUPLACER examination in

                    2020 and scored below 89.22 (the lowest score of a candidate

                    hired); and/or (ii) was removed from the firefighter selection

                    process solely due to the credit check at any time from 2016

                    through 2020; and

             c.     The Claimant was not or would not have otherwise been

                    disqualified or not selected for the firefighter position for other

                    reasons.

      39.    To be eligible for Back Pay Relief, a Claimant need not express an

interest in, or be eligible for, Priority Hire Relief, or accept an offer of employment

as a firefighter in the CCFD.

      40.    A Claimant is potentially eligible for Priority Hire Relief under this

Decree if the Claimant satisfies the criteria in Paragraph 38 above, meets the

minimum qualifications in effect and required of all firefighter applicants at the time


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the Claimant is completing the County’s screening and selection procedures (having

a high school diploma or GED, being at least 18 years of age, and possessing a valid

driver’s license), and completes all steps in the firefighter hiring process, including

passing CCFD’s background check, passing all CCFD physical, psychological, and

polygraph screening requirements, and achieving a passing score on the

ACCUPLACER should the County use the ACCUPLACER as a pass-fail screen;

provided, however, that a Claimant need not re-take the ACCUPLACER if that

Claimant took and received a passing score on the ACCUPLACER within four (4)

years of the date the Claimant would be required to re-take the ACCUPLACER.

    iv.      Determination of Individual Relief

      41.    The United States shall provide a list of its determinations (“LOD”) on

Back Pay and Priority Hire Relief, which will contain all proposed eligible

Claimants, to the Defendant within ninety (90) days of the Date of Final Approval.

Defendant shall choose its Priority Hires from the LOD in accordance with the

procedures set forth in Paragraphs 73-85 below.

      42.     No later than fifteen (15) days after receipt of the proposed LODs from

the United States in Paragraph 41 above, Defendant shall notify the United States in

writing if it objects to any of the United States’ determinations regarding eligibility

for Individual Relief.

      43.    The Parties will work to resolve any dispute regarding the proposed


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LODs within fifteen (15) days of any objections, and if no objections are made, the

United States proposed LODs will be considered the final list of determinations

(“FLOD”).

VI.      FAIRNESS HEARING ON INDIVIDUAL RELIEF

        i.     Filing of Final List of Determination with the Court

         44.   No later than one hundred eighty (180) days after the Date of Final

Approval of the Decree, the United States shall file with the Court and serve upon

the County the FLODs. The United States will redact Claimants’ names, social

security numbers, dates of birth, addresses, telephone numbers, email addresses,

signatures, and initials, as well as any other information identified in Standing Order

19-01. Individuals will be identified by their assigned Claimant ID Number.

       ii.     Fairness Hearing on Individual Relief

         45.   Upon filing the FLODs, the United States shall simultaneously move

the Court to hold a Fairness Hearing on Individual Relief to allow the Court to

determine whether the FLODs should be approved or amended. The Court will

provide the Parties with at least ninety (90) days’ notice of the date and time set for

the Fairness Hearing on Individual Relief.

      iii.     Notice of Preliminary Eligibility Determination to Claimants

         46.   No later than eighty (80) days before the date set for the Fairness

Hearing on Individual Relief, the claims administrator shall send to each Claimant


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who submitted an Interest-in-Relief form via email to the last-known email address,

if available, and via first-class U.S. mail to the last-known mailing address the

following Notice of Individual Relief Fairness Hearing Documents:

            a. A cover letter, in a format materially the same as set forth in Appendix

               D, notifying the Claimant of the determinations regarding the

               Claimant’s eligibility for individual relief under the Decree, the

               reason(s) for any determination that the Claimant is ineligible for any

               particular form of requested relief, and the Claimant’s proposed Back

               Pay Relief as stated on the FLOD, if any; and

            b. Notice of Fairness Hearing on Individual Relief, Instructions for Filing

               an Objection to Individual Relief, and an Objection Form, in formats

               materially the same as set forth in Appendix D, with a self-addressed

               return envelope.

      47.      The claims administrator shall keep records of, and, if possible, shall

re-send, all Notice of Fairness Hearing on Individual Relief Documents returned as

undeliverable by the same procedures described in Paragraph 34.

    iv.        Objecting to Individual Relief Determinations

      48.      A Claimant who wishes to object to any determination regarding

individual relief as set out in his or her cover letter (Appendix D) must file a written

objection in accordance with the requirements set forth in this Consent Decree and


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Appendix D. Objections submitted via mail must be postmarked no later than fifty

(50) days prior to the date set for the Fairness Hearing on Individual Relief, and

objections submitted via email must be transmitted electronically no later than fifty

(50) days prior to the date set for the Fairness Hearing on Individual Relief.

      49.    By no later than forty-five (45) days prior to the Fairness Hearing on

Individual Relief, and on a rolling weekly basis thereafter (if necessary), the United

States shall serve upon the Defendant copies of the objections it has received.

    v.       Filing Objections to Individual Relief

      50.    No later than ten (10) days prior to the Fairness Hearing on Individual

Relief, the United States shall file with the Court copies of all objections received.

The United States will redact objectors’ addresses, telephone numbers, and email

addresses, as well as any other information required by the Court’s General,

Standing, and Administrative Orders, including Standing Order 19-01.

      51.    No later than ten (10) days prior to the Fairness Hearing on Individual

Relief, the Parties shall file their responses, if any, to all objections. In the County’s

filing, the County may also address its unresolved objections made pursuant to

Paragraph 42 in response to the United States’ eligibility determinations made

pursuant to Paragraph 41.

    vi.      Amendments to Final List of Determinations

      52.    At or after the Fairness Hearing on Individual Relief, the Court shall


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determine which, if any, objections to the FLODs are well-founded. The Court shall

then approve the lists as submitted or, if the Court finds that any objections are well-

founded, shall request that the Parties make any necessary adjustments to the lists

consistent with such findings.

          53.   The Court will find that an objection to either FLOD, including an

objection to the amount of Back Pay Relief to be awarded to a Claimant, is well-

founded only if the Court finds that the determination reflected in such list is not

fair, reasonable, and adequate or is otherwise inconsistent with the provisions of this

Decree or federal law.

   vii.         Approval of Final List of Determinations

          54.   If the Court determines that the individual relief awards are fair,

reasonable, and adequate, the Court shall approve the FLODs as final (collectively,

the “Final Individual Relief Awards Lists”) at or after the Fairness Hearing on

Individual Relief.

VII. EXECUTION OF INDIVIDUAL RELIEF

      i.        Notice of Individual Relief Awards and Acceptance and Release

          55.   No later than twenty (20) days after the Court approves the FLODs,

either at or after the Fairness Hearing on Individual Relief, the claims administrator

shall provide notice to each Claimant determined by the Court to be entitled to such

relief.


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      56.    The claims administrator shall send notice to each Claimant via email

to the last known email address, if available, and via first-class U.S. mail to the last-

known mailing address. The Notice of Individual Relief Documents shall include:

                 a. The Notice of Individual Relief Award in a format materially the

                    same as set forth in Appendix E;

                 b. An Acceptance of Individual Relief Award and Release of

                    Claims Form in a format materially the same as set forth in

                    Appendix F. If the Claimant is eligible for Priority Hire Relief,

                    this form will include a statement of the Claimant’s eligibility for

                    such relief and a description of the Retroactive Seniority the

                    Claimant will receive if he or she is ultimately selected as a

                    Priority Hire; and

                 c. Any withholding tax forms necessary for the County to comply

                    with its withholding obligations under law and Paragraph 66 of

                    this Decree.

      57.    The claims administrator shall keep records of, and, if possible, shall

re-send, all notice documents described in Paragraph 56 that are returned as

undeliverable by the same procedures described in Paragraph 34.

    ii.      Acceptance of Individual Relief

      58.    To receive an award of individual relief, a Claimant must return to the


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claims administrator an Acceptance of Individual Relief Award and Release of

Claims Form as set forth in Appendix F of this Decree, along with any applicable

withholding tax forms, no later than thirty (30) days after the Court approves the

Final Individual Relief Awards List.

      59.    Within five (5) business days of the United States’ receipt of an

Acceptance of Individual Relief Award and Release of Claims Form and any

applicable withholding tax forms from the claims administrator, or as soon as

practicable, the United States shall review the form(s) to determine whether they are

fully executed with the information that is necessary to effectuate the Claimant’s

individual relief award. The United States shall continue to conduct such review of

all returned forms and to notify Claimants who submitted forms that were not fully

executed until the deadline set forth in Paragraph 58.

      60.    On a rolling weekly basis, the United States shall forward to the

Defendant copies of all Acceptance of Individual Relief Award and Release of

Claims Forms and withholding tax forms received from Claimants named in the

Final Individual Relief Awards Lists, with all timely forms to be forwarded to

Defendant no later than forty-five (45) days after the Court approves the FLOD.

      61.    No later than fifty-five (55) days after the Court approves the FLOD,

the United States shall provide the Defendant with a list of all Claimants who

submitted Acceptance of Individual Relief Award and Release of Claims Forms and


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withholding tax forms, identifying which Claimants submitted fully executed forms,

as described in Paragraph 58, and which Claimants submitted forms that were not

fully executed.

      62.    No later than seventy (70) days after the Court approves the FLOD,

Claimants whose Acceptance of Individual Relief Award and Release of Claims

Form and/or any applicable withholding tax forms were not fully executed must

provide any missing information and must return fully executed forms. A Claimant’s

failure to return fully executed forms by this deadline, absent a good cause finding

by the United States (as defined above), shall constitute a rejection of the offer of

individual relief and shall release the Parties from any further obligation under the

Decree to make an award of individual relief to the Claimant. No later than five (5)

business days after this deadline, the United States, via the claims administrator,

shall provide the Defendant with all of the returned Acceptance of Individual Relief

Award and Release of Claims Forms and any applicable withholding tax forms.

      63.    No later than eighty (80) days after the Court approves the FLOD, the

United States shall provide the Defendant with an updated list of all of the Claimants

who submitted Acceptance of Individual Relief Award and Release of Claims Forms

and any applicable withholding tax forms, identifying which Claimants submitted

fully executed forms and which Claimants submitted forms that were not fully

executed.


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       64.   No later than ninety-five (95) days after the Court approves the FLOD,

the United States shall provide the Defendant with an Amended Final Monetary

Awards List and an Amended Final Priority Hire Claimant List (collectively,

“Amended Final Individual Relief Awards Lists”). The Amended Final Monetary

Awards List will identify for each Claimant who timely returned fully executed

Acceptance of Individual Relief Award and Release of Claims Forms along with any

applicable withholding tax forms, the amount of Back Pay Relief to be paid, taking

into account when each Claimant was disqualified by the ACCUPLACER or the

credit check. The Amended Final Priority Hire Claimant Lists shall identify each

Claimant who is eligible to pursue Priority Hire Relief within each category and who

timely returned fully executed Acceptance of Individual Relief Award and Release

of Claims Forms.

    iii.     Issuance of Back Pay Relief

       65.   No later than one hundred twenty-five (125) days after entry of the

FLOD, the claims administrator shall mail via certified U.S. mail (return receipt

requested) a Back Pay Relief check to each Claimant listed on the Amended Final

Monetary Awards List as well as a Form W-2 and all other appropriate tax forms.

The amount of the Back Pay Relief check shall be the amount shown for the

Claimant on the Amended Final Monetary Awards List, less all appropriate taxes

and other amounts withheld in accordance with Paragraph 66.


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      66.   No later than one hundred-ten (110) days after entry of the FLOD, the

claims administrator shall calculate both the employer-side and employee-side

federal, state, and local taxes to be paid related to the Back Pay Relief, and shall

inform the County of the employer-side taxes that will be due. The County shall

have ten (10) days to review and to make objections to such calculations (if any).

The County shall remit to the claims administrator the amount of employer-side

taxes to be paid within ten (10) days after the objection deadline (if no objections

are made) or the resolution of any objections. The claims administrator shall

withhold from each Claimant’s Back Pay Relief all appropriate federal, state, and

local income taxes; the Medicare and FICA tax; and any other amounts that are

required to be withheld by law. The County shall provide the claims administrator

with any information necessary for the withholdings.

      67.   The claims administrator shall keep records of all monetary award

checks returned as undeliverable and report such information to the Parties. The

claims administrator shall re-mail the monetary award returned as undeliverable by

the same procedures described in Paragraph 34.

      68.   No later than one hundred forty (140) days after entry of the FLOD, the

claims administrator shall provide to the Parties a statement indicating the amount

of the Back Pay Relief made to each Claimant, the amounts withheld from each such

Back Pay Relief check for taxes and other amounts required to be withheld by law,


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and the purpose of each such withholding.

      69.    No later than one hundred fifty-five (1 55) days after entry of the

FLOD, the claims administrator shall provide to the Parties a list of all Claimants

whose Back Pay Relief payments have not been deposited. The list shall identify

which Claimant’s checks appear to have been delivered (no returned check) but have

not been cashed, and which Claimant’s checks have been returned to the claims

administrator as undeliverable. The claims administrator shall also provide a

statement of the amount of funds remaining in the QSF.

      70.    No later than one hundred sixty-five (165) days after entry of the

FLOD, the claims administrator shall email and mail a letter to all Claimants whose

Back Pay Relief payments are still outstanding to inform such Claimants that their

awards have not been deposited or cashed, and may redistributed, reallocated, or

treated as unclaimed property under Georgia law if they do not accept payment by a

specified date one hundred eighty (180) days after issuance of the check. The letter

shall state that no further warnings regarding such distribution will be given.

      71.    No later than three hundred fifteen (315) days after entry of the FLOD,

the claims administrator shall provide the Parties with a list of all Claimants whose

Back Pay Relief checks were returned as undeliverable and/or uncashed, as well as

a statement of the amount of funds remaining in the QSF.

      72.    No later than three hundred twenty-five (325) days after entry of the


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FLOD, the United States shall inform the Defendant either that, to the extent Georgia

state law permits, the remaining funds should be reallocated among the other

Claimants who are listed on the Amended Final Monetary Awards Relief List in a

manner designed to preserve the relative proportions of the Claimants’ shares of the

QSF or, if the remaining funds are de minimis, consult with the Defendant about the

distribution. The Parties shall comply with Georgia law regarding unclaimed

property to the extent applicable to any unclaimed funds under this Decree. The

Court shall resolve any disputes between the Parties as to the treatment of any

unclaimed funds.

   iv.       Priority Hire Relief

      73.    From the Claimants on the Amended Final Individual Relief Awards

List who are deemed eligible for Priority Hire Relief, the County shall make up to

sixteen (16) Priority Hires according to the process set out in Paragraphs 78-85.

Subject to the terms and limitations in this Decree, all individuals selected to be

Priority Hires shall receive an award of Retroactive Seniority as defined in Paragraph

13 corresponding with the Claimant’s Retroactive Seniority Date.

      74.    To count as a Priority Hire under this Decree, the person must be a

Claimant who is eligible for Priority Hire Relief as indicated in the Amended Final

Individual Relief Awards List and who accepts an offer of employment from the

County.


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      75.    Nothing in this Decree shall preclude any Claimant from applying for

hire or being hired into the firefighter position under any of the County’s regular

selection processes. Hire of a Claimant under one of the County’s regular selection

processes prior to January 2024 shall be counted toward fulfillment of up to four (4)

of the County’s priority hiring obligations under this Decree provided that the

County offers such individual(s) and the individual(s) accept the retroactive seniority

benefits provided for in this Decree. Hire of a Claimant under one of the County’s

regular selection processes shall not affect the Claimant’s eligibility for Back Pay

Relief under this Decree.

      76.    The County’s priority hiring obligation under this Decree shall be

considered fulfilled when either (a) 16 eligible Claimants from the Amended Final

Individual Relief Awards List have accepted an offer of employment, or (b) all

eligible Claimants from the Amended Final Individual Relief Awards List have

either (i) accepted an offer of employment as Priority Hires pursuant to the terms of

this Decree; (ii) been disqualified from hire in a manner consistent with the terms of

this Decree; (iii) failed to participate in the CCFD’s firefighter screening and

selection procedures that are then in effect and required of all other applicants

(subject to the policies, procedures, and accommodations applied to all other

applicants) in two different hiring cycles that the priority hire is invited to participate

in and may therefore be deemed disqualified; or (iv) rejected an offer of priority hire


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(including by failing to timely accept an offer of priority hire absent good cause as

determined by the United States). If a Claimant rejects two separate offers of priority

hire because the Claimant is not available to begin the CCFD Academy on the date

included in the County’s offer letters, or the next Academy start date, then the

County may consider that Claimant to be disqualified from hire as a priority hire for

purposes of this paragraph.

      77.    If the County disqualifies any Claimant listed on the Amended Final

Priority Hire Claimant List based on any part of its screening and selection process,

including but not limited to disqualification pursuant to Paragraph 76, before

fulfilling its priority hiring obligations under the Decree, the County shall, within

five (5) days of making such determination, send the United States written notice of

its determination, the basis of its determination, and any supporting documentation.

If the United States finds no reasonable basis for the County’s determination to

disqualify any Claimant, it shall notify the County in writing within ten (10) days of

its receipt of the County’s determination, and the Parties shall make a good faith

effort to resolve the disagreement. If the Parties cannot resolve the disagreement,

either Party may seek judicial resolution pursuant to the dispute resolution

procedures set forth at Paragraph 89.

      78.    The County will provide those Priority Hire Claimants it selects for

priority hire with a written employment offer consistent with its normal practices


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and procedures, subject to the additional provisions contained herein.

      79.    The County shall not be required to place more than three (3) Priority

Hires in any CCFD Academy class, although the County may voluntarily choose to

exceed that number. The County may stagger its Priority Hires through the next six

(6) academies.

      80.    The County will endeavor to make offers of priority hire as early as

possible upon a Claimant’s successful completion of the County’s firefighter

screening and selection procedures, so that if a Claimant rejects an offer of priority

hire or does not timely respond to an offer of priority hire, the County will have

sufficient time prior to the next CCFD Academy class to make offers to other

potential Priority Hires, if necessary. The County will not make offers of priority

hire within twenty-one (21) days of the starting date of the Academy class to which

the individual is being invited, unless the Parties mutually agree in writing otherwise.

      81.    The written offer of priority hire will be sent via first-class U.S. mail

and email, and prominently indicate: (a) that the offer is an offer of priority hire

being made pursuant to the Decree; (b) that, upon entry into the CCFD Academy,

the Claimant will be entitled to Retroactive Seniority corresponding with the

Claimant’s Retroactive Seniority Date as provided by this Decree; (c) the specific

starting salary that the County will provide upon entry into the CCFD Academy and

the Retroactive Seniority Date used to calculate the other Retroactive Seniority


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benefits provided for in this Decree; (d) the telephone number at which the Claimant

may contact the County’s Consent Decree Compliance Officer with any questions

regarding the offer of priority hire; (e) the date on which the Claimant will begin

CCFD Academy training if the offer is accepted; and (f) that the Claimant has

fourteen (14) days from the date on which the Claimant receives the written offer of

priority hire to notify the County that the Claimant accepts the offer. On the date that

such an offer of priority hire is provided to a Claimant, the County shall send a copy

of the offer of priority hire to the United States.

      82.    If a Claimant fails to report to the CCFD Academy on the start date

identified in the County’s offer of priority hire, after accepting the County’s offer,

then except for good cause as determined by the United States, the County’s

obligation to make a priority hire of that Claimant ceases.

      83.    On the date on which a Claimant who is hired as a Priority Hire enters

the CCFD Academy, the County shall credit the Claimant with a Retroactive

Seniority Date for purposes of calculating the Retroactive Seniority benefits

provided for in this Decree.

      84.    No later than thirty (30) days after the beginning of any CCFD

Academy class for which offers of priority hire are made, the County shall provide

to the United States a written report identifying: (a) the name of each Claimant who

was offered a priority hire position; (b) whether each such Claimant accepted the


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offer of a priority hire position; (c) whether each such Claimant began the CCFD

Academy and was credited with Retroactive Seniority; and (d) for any Claimant who

did not begin the CCFD Academy, a statement of the reason(s) that any Claimant

was not hired, along with all available documentation relating to such reason(s).

      85.    No later than thirty (30) days after the completion of any CCFD

Academy class for which offers of priority hire have been made, the County shall

provide to the United States a written report identifying those Claimants who

successfully completed Academy training and those who did not successfully

complete Academy training. For Claimants who did not successfully complete

CCFD Academy training, the report shall include a statement of the reason(s) that

the Claimant did not complete Academy training, along with all available

documentation relating to such reason(s).

VIII. CONFIDENTIALITY

      86.    The Parties shall keep confidential the names and personally

identifiable information (“PII”) of any class member and any individual who seeks

or receives relief under this Agreement, including, but not limited to, the identity of

individuals designated as priority hires pursuant to this Agreement (including,

without limitation, as may be set forth in any documents completed pursuant to the

Appendices to this Decree, or in LODs or FLODs created pursuant to this Decree),

except that the County may disclose PII of claimants who seek priority hire relief to


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County and/or CCFD personnel who have a need to know for purposes of

implementing the priority hire relief, including, without limitation, the Retroactive

Seniority benefits provided for in this Decree. The Parties will not file any document

with the Court that identifies the name or other PII of any individual seeking or

receiving relief under this Agreement absent a court order permitting disclosure. Any

and all documents or other records that explicitly, or by reasonable implication,

reveal the identities of the individuals seeking, receiving, and/or accepting priority

hire relief with the County are specifically exempted from disclosure by this Order

under O.C.G.A. §50-18-70 et seq. and, to the extent applicable, pursuant to any

request under the federal Freedom of Information Act, 5 U.S.C. § 552 et seq.

IX.     RECORDKEEPING AND COMPLIANCE MONITORING

        87.   While this Decree remains in effect, the County shall maintain all of

the following records:

              a.   All documents relating to written or verbal complaints made by

                   any person or organization regarding (i) the administration of

                   this Consent Decree; (ii) discrimination on the basis of race

                   (African-American) in the appointment of Claimants to the

                   firefighter position pursuant to this Decree; or (iii) retaliation

                   prohibited by Paragraph 27 above;




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              b.    All documents relating to the evaluation, selection, designation,

                    and/or employment of Priority Hires under this Decree; and

              c.    All other documents relating to the County’s compliance with

                    the requirements of this Decree, including but not limited to

                    documents relating to the payment or award of Individual

                    Relief to any Claimant under this Decree.

        88.   Except as otherwise provided in this Decree, the County will make

available to the United States, no later than thirty (30) days after the United States

so requests in writing, any records maintained in accordance with Paragraph 87, and

any additional documents relating to any dispute arising under the Decree.

X.      DISPUTE RESOLUTION

        89.   The Parties shall attempt to resolve informally any disputes or

objections that may arise under this Decree, including any determinations by the

United States that “good cause” exists in a given circumstance, as defined above.

The Parties shall engage in good faith efforts to resolve any issues before seeking

action by the Court. If the Parties are unable to reach agreement after informally

seeking to resolve an issue, it may be submitted by either party to the Court for

resolution upon at least twenty (20) days’ written notice to the other party.

XI.     JURISDICTION OF THE COURT

        90.   The Court shall retain jurisdiction over this Decree for the purpose of


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resolving any disputes or entering any orders that may be necessary to implement

the relief provided in the Decree. Unless extended for good cause, this Decree shall

be dissolved without further Court Order either three (3) years from the Date of Final

Approval or six months after the date that the last Priority Hire begins the CCFD

Academy, whichever is later. If there is any dispute regarding whether this Decree

is dissolved pursuant to this Paragraph, then that dispute is subject to the dispute-

resolution process set forth in Paragraph 89 above.

XII. CONTACTS FOR THE PARTIES

      91.    To the extent possible, all documents required to be delivered to the

Parties under this Decree shall be sent via electronic mail.

      92.    Where such electronic delivery is not possible, all documents required

to be delivered under this Decree to the United States shall be sent via overnight

delivery to the following address:

                          Brian McEntire
                          Juliet Gray
                          Senior Trial Attorneys
                          Employment Litigation Section
                          Civil Rights Division
                          U.S. Department of Justice
                          4 Constitution Square
                          150 M Street, NE, 9th Floor
                          Washington, D.C. 20002
                          Brian.Mcentire@usdoj.gov
                          Juliet.Gray@usdoj.gov

      93.    All documents required to be delivered under this Decree to Defendant


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shall be sent to the following address:

                            Cobb County Attorney’s Office
                            100 Cherokee Street, Suite 350
                            Marietta, Georgia 30090
                            h.william.rowling@cobbcounty.org
                            lauren.bruce@cobbcounty.org
                            mark.adelman@cobbcounty.org

       94.     Either the United States or the County may update physical or

electronic delivery or mailing addresses without requiring any changes to the

Decree.

XIII. GENERAL PROVISIONS

       95.     The Parties shall bear their own costs, expenses, and attorney’s fees in

this action.

       96.     If any provision of this Decree is found to be unlawful, only the specific

provision in question will be affected and the other provisions will remain in full

force and effect.

       97.     This Decree may be executed in multiple counterparts, each of which

together shall be considered an original but all of which shall constitute one Decree.



It is so ORDERED, this _____ day of ___________________, 2024.

_________________________________
UNITED STATES DISTRICT JUDGE


AGREED AND CONSENTED TO on April 24, 2024:
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For Plaintiff United States of America:

By:

RYAN K. BUCHANAN                               KRISTEN CLARKE
United States Attorney                         Assistant Attorney General
Northern District of Georgia                   Civil Rights Division

/s/ Aileen Bell Hughes                         KAREN D. WOODARD
AILEEN BELL HUGHES                             Chief
Georgia Bar No. 375505                         Employment Litigation Section
Deputy Chief
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                                               Washington, DC 20530
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                                     APPENDIX A

     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

NOTICE OF SETTLEMENT & FAIRNESS HEARING
    A court approved this notice. This is not an advertisement from a lawyer.

 The United States of America has sued Cobb County, Georgia alleging that
  the Cobb County Fire Department’s (“CCFD”) use of a written exam and a
  credit check for hiring firefighters had an unintentional disparate impact on
  African-American applicants for firefighter positions from 2016 to 2020.

 The United States and Cobb County have voluntarily entered into a Consent
  Decree that fully resolves this complaint.

 CCFD discontinued use of the ACCUPLACER exam as a rank-order selection
  device in 2020 and has not used a credit check to screen out candidates since
  2020.

 As part of the Consent Decree, Cobb County has agreed to provide monetary
  and other relief to individuals who may have been eligible for employment as
  firefighters if not for the challenged practices. Individuals who meet the
  following criteria and submit all the necessary forms by the applicable
  deadlines may be eligible for relief:

         Applicants who identified as African American when applying to be a
          firefighter with CCFD and either (1) passed the ACCUPLACER
          examination in 2020 but scored below 89.22 percent; or (2) were
          removed from the firefighter selection process solely due to the credit
          check at any time from 2016 to 2020 and were not otherwise
          disqualified for the firefighter position.

 Individuals who do not fall into these categories are not eligible for relief.

    The Consent Decree can be viewed at [Claims Administrator’s website]

    If you wish to object to the Consent Decree, you must follow the enclosed instructions
     and return the objection form by ________________.

    Objections to the Consent Decree will be considered by the District Court at a
     Fairness Hearing on _______________.



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                                     APPENDIX A

       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

Read this notice carefully, as your rights may be affected by the terms of the
Consent Decree.

   1. What is this lawsuit about?

In its lawsuit, the United States alleges that Cobb County’s use of a credit check
from 2016 to 2020 and use of scores on the ACCUPLACER examination to rank
order applicants in 2020 resulted in an impermissible adverse impact on African-
American applicants for CCFD firefighter positions in violation of Title VII of the
Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(a). The United States further alleges
that these screening devices are not sufficiently job related or consistent with
business necessity. The United States does not allege that the County intentionally
discriminated against any person or group of persons. The County denies that it has
discriminated against any person or any group of persons in any way.

In the interest of resolving this matter and promoting the purposes of Title VII, the
United States and the County have voluntarily entered into a Consent Decree. The
District Court must decide if the terms of the Consent Decree are fair, reasonable,
adequate, and otherwise consistent with federal law. To do so, the Court will hold a
“Fairness Hearing,” at which time the Court will hear and consider any objections
to the terms of the Consent Decree. This Consent Decree is publicly available on
the U.S. Department of Justice’s website at http://www.justice.gov.__________
and on the claims administrator’s website at _______.

   2. Why did I get this notice?

You received this notice because your rights or legal interests might be affected by
implementation of the relief in the Consent Decree. This notice summarizes that
relief and explains how you may object to it, if you wish to do so. The District Court
will consider all objections before any individuals who were impacted by the
County’s challenged practices will be offered relief.




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      UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA



  3. What forms of individual relief are available to individuals who were
     impacted by the County’s challenged practices?

The Consent Decree describes the relief that will be available to the individuals
impacted by the County’s practices that were the subject of this lawsuit.

    If you identified as African American when applying to be a firefighter
     and you were affected by the disputed screening devices, you may be
     entitled to:

          Monetary relief to make up for some of the wages lost due to the
           County’s disputed screening devices that were the subject of this
           lawsuit. Specifically, the County has agreed to provide $750,000 in
           monetary relief to be allocated and distributed among eligible
           claimants.

          Consideration for a position as a firefighter with CCFD. The County
           has agreed to fill up to 16 firefighter positions with applicants
           disqualified by the disputed screening devices. To be hired, each
           individual must meet the minimum qualifications and meet other
           selection requirements.

                The individuals selected by the County for a position will
                 receive the following components of retroactive
                 seniority: CCFD will use the date that the individual would have
                 started at the fire academy if he or she had not been disqualified
                 by one of the challenged practices for calculating the rate of pay,
                 accrual of annual leave and any other leave accrued based on
                 seniority, determinations for layoffs/reductions in work force,
                 and recall from layoffs/reductions in work force. This retroactive
                 seniority may not be used to satisfy any applicable probationary
                 periods or any time-in-grade minimums required to be eligible
                 for promotions, or for purposes of calculating pension benefits.




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       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA



   4. Will African-American applicants automatically be eligible to receive
      individual relief?

No. Only African-American applicants who were disqualified for a firefighter
position by the County’s use of the disputed screening devices and otherwise met
the minimum qualifications for employment may be eligible to receive relief.
African-American applicants who were not hired for reasons unrelated to the
disputed screening devices will not be eligible to receive relief.

   5. How do I object to the Consent Decree?

You have the right to submit a written objection to any of the terms of the Consent
Decree that you believe are unfair, unreasonable, inadequate, inequitable, or
unlawful. Instructions for filing an objection are enclosed with this notice. Making
an objection is voluntary, but if you have objections and do not object at this
time, you may be prohibited from challenging the Consent Decree in the future.
Any written objections must be submitted to the Claims Administrator, as described
in the enclosed instructions, no later than _____________, 2024.

You also have the right to attend the Fairness Hearing, at which time the District
Court will decide whether to enter the Consent Decree as final. The Fairness Hearing
will be held on __________, 2024 at ______ at the Richard B. Russell Federal
Building and United States Courthouse, 2211 United States Courthouse, 75 Ted
Turner Drive SW, Atlanta, GA 30303.




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                                   APPENDIX A


           INSTRUCTIONS FOR FILING AN OBJECTION
               PRIOR TO THE FAIRNESS HEARING

1. Making an objection is voluntary, but if you have objections and do not
   object at this time, you will not be able to oppose the terms of the Consent
   Decree in the future without good cause. If you decide to object, follow the
   instructions on this page. If you object, the District Court will consider your
   objection before deciding whether to enter or amend the Consent Decree.

2. All objections must be made in writing. Your objection should be made on
   the attached objection form, which must be filled out completely. You must
   include a description of the basis of your objection. If you have retained an
   attorney to assist you in this matter, you must include the name, address,
   phone number, and e-mail address of your attorney. You may attach
   additional pages to the objection form if necessary. If your objection is sent
   by email, you must use this form and send it as an attachment. Objections
   made in the body of the email itself will not be considered.

3. All objections must be sent via e-mail or sent by U.S. mail and postmarked no
   later than _____________, 2024. If your objection is not e-mailed or
   postmarked by this date, your objection may not be considered, and you may
   be prohibited from objecting later.

4. Submit your objection either:

      a. By U.S. mail to the following address:

                Cobb County Consent Decree Team
                [Claims Administrator]
                [Claims Administrator address]

      b. By e-mail to _____@_____ [Claims Administrator’s e-mail address]

      c. Online at www.________________.com [Claims Administrator’s
         website]

5. The District Court will hold a Fairness Hearing on ____________, 2024, at
   ______. You may attend this hearing if you wish, but you do not need to


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                                 APPENDIX A


   attend to have the District Court consider any written objections that you
   choose to submit.

6. If you have any questions regarding your decision to submit an objection, you
   may consult with an attorney of your own choosing and at your own expense.
   If you have any questions concerning the procedure to submit an objection,
   you may consult with your own attorney or call the Claims Administrator at
   _______________. You may also consult [Claims Administrator’s website]
   for additional information.




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                                   APPENDIX A


             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
_______________________________
                                )
UNITED STATES OF AMERICA, )
                                )
                Plaintiff,      )
v.                              )    Civil Action No.:
                                )
COBB COUNTY, GEORGIA            )
                                )
                                )
                Defendant.      )
_______________________________)

                 OBJECTION TO THE CONSENT DECREE

     I object to the Consent Decree between the United States and Cobb County,
Georgia.

Name: __________________ Attorney’s name (if any): _______________

Address: ________________       Attorney’s address: ____________________

         ________________                           ____________________

         ________________                           ____________________

Telephone: ______________       Attorney’s telephone: __________________

Email address: __________________

Basis of my objection:




You may attach additional pages to explain the reason for your objection, if
necessary.


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Are you requesting the opportunity for you (or your attorney, if you have one), to
speak in person at the Fairness Hearing? [ ] Yes [ ] No

You must send your objection to the Claims Administrator at the address
provided in the instructions.

YOUR OBJECTION MUST BE POSTMARKED BY [INSERT DATE] OR
TIME STAMPED BY EMAIL BY 11:59 PM EASTERN TIME ON [INSERT
DATE].




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                                                         APPENDIX B

                 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA



         Former applicants for firefighter positions in Cobb County
           may be eligible for back pay and priority hiring relief.

On _________, 2024, the United States and Cobb County, Georgia (“Defendant”) asked the Court to approve and enter a
Consent Decree that, if approved, will resolve a lawsuit brought by the United States in the U.S. District Court for the Northern
District of Georgia.

              WHAT IS THIS CASE ABOUT?                                          AM I ELIGIBLE FOR RELIEF?

The lawsuit alleges that the Cobb County Fire Department’s           If you identified as an African American when applying to
                                                                     be a CCFD firefighter, and you either passed the
(CCFD’s) use of the following screening devices for hiring
                                                                     ACCUPLACER exam in 2020 but scored below 89.22
firefighters had an unintentional disparate impact on
                                                                     percent or were eliminated from consideration based on the
African-American applicants:                                         credit check at any time from 2016 to 2020, you may be
      the ACCUPLACER written exam as a rank-order                   eligible for money and/or a priority hire position as a
          selection device in 2020; and                              CCFD firefighter, and you will be sent a notice about the
      a credit check from 2016 to 2020.                             process for submitting a claim for relief.

     WHAT IS INCLUDED IN THE CONSENT                                 The individuals selected for a firefighter position will
                 DECREE?                                             receive certain components of retroactive seniority, which
                                                                     means that CCFD will use the date that the individual
As part of the proposed Consent Decree, Defendant will:              would have started at the fire academy if he or she had not
 Pay $750,000. This amount will be allocated and                    been disqualified by one of the challenged practices for
    distributed among individuals disqualified by the                calculating the rate of pay, accrual of annual leave and any
                                                                     other leave accrued based on seniority, and determinations
    challenged practices who submit claims by the
                                                                     for layoffs/reductions in work force and recalls from
    required deadlines;                                              layoffs/reductions in work force.
 Hire up to 16 firefighters from the group of prior
    applicants disqualified by the challenged practices;             HAS THE CONSENT DECREE BEEN APPROVED
 Not resume using scores on the ACCUPLACER                                      BY THE COURT?
    written exam to rank firefighter candidates; and
 Not resume using a credit check in screening                       The Consent Decree has been provisionally entered by the
    firefighter candidates.                                          Court. The Court will hold a Fairness Hearing on _______,
                                                                     2024, at a.m./p.m. before Judge ___________ to hear
     HOW CAN I OBJECT TO THE CONSENT                                 objections and determine whether to fully approve all of the
                 DECREE?                                             terms of the Consent Decree.

If you wish to object to the Consent Decree, you must                You have the right to attend the hearing. It will be held at
submit an objection by ______, 2024.                                 the Richard B. Russell Federal Building and United States
                                                                     Courthouse, 2211 United States Courthouse, 75 Ted
   Instructions for filing an objection can be obtained at          Turner Drive SW, Atlanta, GA 30303.
    www.__________________.com.
   If you do not object in writing by this date, you may                                       ***
    be prohibited from taking any action against this
    Consent Decree in the future.                                    Visit www.______________________.com for more
                                                                     information.

                                                                     Please do not contact the court for information about this
                                                                                              lawsuit.
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                                     APPENDIX C

    UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

                      NOTICE OF ENTRY OF
                       CONSENT DECREE
       A court approved this notice. This is not an advertisement from a lawyer.


  If you identified as African American when applying to
become a firefighter with the Cobb County Fire Department
   and meet the requirements below, you must act now to
              protect your rights in a lawsuit.

 The United States of America has sued Cobb County, Georgia alleging that
  the Cobb County Fire Department’s (“CCFD”) use of a written exam and a
  credit check for hiring firefighters had an unintentional disparate impact on
  African-American applicants for firefighter positions from 2016 to 2020.

 The United States and Cobb County voluntarily entered into a Consent Decree
  that fully resolves this complaint. On _____________, the District Court
  entered a Consent Decree that resolved the lawsuit between the United States
  and Cobb County.

 CCFD discontinued use of the ACCUPLACER exam as a rank-order selection
  device in 2020 and has not used a credit check to screen out candidates since
  2020.

 As part of the Consent Decree, the County has agreed to provide monetary
  and other relief to individuals who may have been eligible for employment as
  firefighters if not for the challenged practices. Individuals who meet the
  following criteria and submit all the necessary forms by the applicable
  deadlines may be eligible for monetary relief and/or priority consideration for
  hiring with the CCFD:

       Individuals who identified as African American when applying to be a
        firefighter with CCFD and either (1) passed the ACCUPLACER
        examination in 2020 but scored below 89.22 percent; or (2) were
        removed from the firefighter selection process solely due to the credit


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                                APPENDIX C

   UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

         check at any time from 2016 through 2020 and were not otherwise
         disqualified for the firefighter position.

 You are being sent this Notice because you identified as African American
  when applying and you either passed the ACCUPLACER in 2020 but scored
  below 89.22 percent or were removed from the firefighter selection process
  solely due to the credit check. You may be eligible for monetary relief and/or
  priority consideration for a firefighter position under the Consent Decree.
  You must submit the enclosed Interest-in-Relief Form by ___________ to
  be considered for relief under the Consent Decree.




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                                    APPENDIX C

       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

   1. What is this lawsuit about?

In its lawsuit, the United States alleges that Cobb County’s use of a credit check
from 2016 to 2020 and use of scores on the ACCUPLACER examination to rank
order applicants in 2020 resulted in an impermissible adverse impact on African-
American applicants in violation of Title VII of the Civil Rights Act of 1964, 42
U.S.C. § 2000e-2(a). The United States further alleges that these screening devices
are not sufficiently job related or consistent with business necessity. The United
States does not allege that the County intentionally discriminated against any person
or group of persons. The County denies that it has discriminated against any person
or any group of persons in any way.

In the interest of resolving this matter and promoting the purposes of Title VII, the
United States and the County have voluntarily entered into a Consent Decree. The
District Court entered the Consent Decree on ______________.

   2. What forms of individual relief are available to individuals who were
      impacted by the County’s challenged practices?

    If you identified as African American when applying to be a firefighter
     and were disqualified due to one of the disputed screening devices, you
     may be entitled to:

          Monetary relief to make up for some of the wages lost due to the
           State’s disputed screening devices that were the subject of this lawsuit.
           Specifically, the County has agreed to provide $750,000.00 in monetary
           relief to be allocated and distributed among eligible claimants.

          Consideration for a position as a firefighter with the CCFD, including
           certain components of retroactive seniority. The County has agreed to
           fill up to 16 firefighter positions with applicants disqualified by the
           disputed screening devices. To be hired, each individual must meet the
           minimum qualifications and meet other selection requirements.

                 The individuals hired by the County for a position will
                  receive the following components of retroactive
                  seniority: CCFD will use the date that the individual would have


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       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

                    started at the fire academy if he or she had not been disqualified
                    by one of the challenged practices for calculating the rate of pay,
                    accrual of annual leave and any other leave accrued based on
                    seniority, determinations for layoffs/reductions in work force,
                    and recall from layoffs/reductions in work force. This retroactive
                    seniority may not be used to satisfy any applicable probationary
                    periods or any time-in-grade minimums required to be eligible
                    for promotions, or for purposes of calculating pension benefits.

   3. Why did I get this notice?

The County’s records show that you identified as African American when applying
and you were eliminated from consideration based the County’s use of one of the
disputed screening devices. As a result, you may be eligible for monetary relief or
priority consideration for a firefighter position with the CCFD. This notice explains
the steps that you must now take to be considered for individual relief.

   4. What should I do to be considered for individual relief?

To be considered for individual relief, you must complete and submit the enclosed
Interest-in-Relief Form to the Claims Administrator, as described in the enclosed
instructions, no later than ________________. Submitting the Interest-in-Relief
Form does not guarantee that you will receive any individual relief. But if you do
not complete and submit the Interest-in-Relief Form by _________________, you
may not receive individual relief because you missed the deadline.

   5. What happens next?

The United States will make an initial decision on your eligibility based on the
County’s records and the Interest-in-Relief Form that you submit. You will be
informed of the initial decision on your eligibility, and you will have the opportunity
to object to that decision if you disagree with it. The District Court will make the
final decision about whether you are eligible to receive individual relief.

During this process, it is important that the Claims Administrator has your current
contact information to inform you of next steps or to request additional information.


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       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

If your address, telephone number, or e-mail address changes after you mail in your
Interest-in-Relief Form, you must let the Claims Administrator know. To do so:

    You can e-mail [Claims Administrator’s e-mail address], or
    You can call [Claims Administrator’s phone number].




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                                  APPENDIX C


INSTRUCTIONS FOR FILING A CLAIM TO BE CONSIDERED FOR
 MONETARY RELIEF OR PRIORITY HIRING CONSIDERATION

1. To be eligible for individual relief in this lawsuit (such as monetary relief
   and/or priority hiring consideration), you must return a completed Interest-in-
   Relief Form with your signature. Filling out the Interest-in-Relief Form
   does not guarantee that you will receive relief, but absent good cause you
   will not be eligible to receive any benefits from this lawsuit if you do not
   complete and return the Interest-in-Relief Form.

2. FILL OUT EVERY SECTION OF THE INTEREST-IN-RELIEF FORM.

3. Submit your Interest-in-Relief Form either:

      a. By U.S. mail to the following address (a return envelope has been
         enclosed for your convenience):

         Cobb County Consent Decree Team
         [Claims Administrator]
         [Claims Administrator]

      b. By e-mail to ___@___ [Claims Administrator’s e-mail address].

      c. Online at www.________________.com [Claims Administrator’s
         website]

4. All forms must be sent via e-mail or postmarked by _____________ or
   you will lose the chance to receive individual relief absent good cause.

5. If you return the Interest-in-Relief Form:

      a. You authorize the Claims Administrator to share your materials with
         the parties and the District Court.
      b. The United States will evaluate your eligibility for individual relief.
      c. The Claims Administrator will notify you of the United States’
         eligibility determinations.
      d. If you disagree with these determinations, you will have a chance to
         object.


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     e. The District Court will make the final decision about whether you are
        eligible for relief.




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             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
_______________________________
                                )
UNITED STATES OF AMERICA, )
                                )
                Plaintiff,      )
v.                              )    Civil Action No.:
                                )
COBB COUNTY,                    )
GEORGIA                         )
                                )
                                )
                Defendant.      )
_______________________________)

                         INTEREST IN RELIEF FORM

      I am requesting monetary relief and/or priority hiring consideration under the
Consent Decree agreed to by the United States and Cobb County, Georgia, and
entered by the District Court in the above-captioned case. By completing, signing,
and returning this form, I certify that the information below is true and correct:

PART I. GENERAL INFORMATION:*

Name: _______________________________________________________________________
            (first)     (middle initial)  (last)
Other name(s) used: ____________________________________________________________
Social Security Number: _____________________ Date of Birth: _______________________
                                                                   (mm/dd/yyyy)
Address: _____________________________________________________________________
             (Number & Street)                         (Apt./Unit)
        _____________________________________________________________________
Home Telephone: __________________________ Cell Phone: _________________________
E-mail: ___________________________________




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*If your contact information, including your mailing address, changes at any
time after you submit this form, please contact the Claims Administrator at
_______________. Otherwise, you may not receive critical information about
the relief you are requesting.

PART II. INTEREST IN RELIEF

I am interested in receiving (check all that apply):

          a. [ ] Back pay monetary compensation. Please check this box if you are
             interested in monetary relief to make up for some of the wages lost
             due to the County’s practices that were the subject of this lawsuit.

             Cobb County has agreed to provide $750,000 in monetary relief to be
             allocated and distributed among eligible African-American claimants.

             The amount of monetary relief that an eligible claimant receives will
             depend on the number of claimants and the timing of their
             disqualification from CCFD’s hiring process.

          b. [ ] A priority hire firefighter position. Please check this box if you are
             interested in being considered for priority hiring relief, including
             certain components of retroactive seniority, under either of the
             following two situations:

                  i.     If you are not currently employed as a firefighter by CCFD
                         and you would like to be considered for priority hiring as a
                         firefighter with CCFD. Checking the box merely indicates
                         your interest in being considered and does not mean that
                         you will necessarily be hired. Also, you will not have to
                         accept a position if one is offered to you, but declining an
                         offer may thereafter affect your ability to be provided
                         priority hiring relief.

                  ii.    If you are currently employed as a firefighter with CCFD
                         and you would like to receive certain components of
                         retroactive seniority.




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PART III. ADDITIONAL ELIGIBILITY INFORMATION

   1. I am African American.

      YES[ ] NO[ ]

   2. I previously applied to be a firefighter with the Cobb County Fire
      Department (“CCFD”) YES[ ] NO[ ] and (check which applies):

         a. [ ] I believe that I took the ACCUPLACER written exam as part of the
            CCFD hiring process in 2020; OR

         b. [ ] I believe that I was disqualified from the CCFD hiring process
            based on the results of a credit check between 2016 and 2020.

   3. I have graduated from high school or earned my GED.

             YES[ ] NO[ ]

   4. I was at least 18 years of age when I applied to be a CCFD firefighter.

             YES[ ] NO[ ]

   5. I possess a valid driver’s license.
         a. YES[ ] NO[ ]

PART IV. ACKNOWLEDGMENT

I UNDERSTAND AND ACKNOWLEDGE that additional information regarding
my background may be requested, and that I may be required to provide such
information in order to be eligible to receive any relief the District Court may order
in this lawsuit, and that filling out this Interest-in-Relief Form does not
guarantee that I will receive any individual relief in this lawsuit.

I CERTIFY under penalty of perjury that the foregoing is true and correct.


Date Signed: ________________           Signature: __________

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                                     APPENDIX D
         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

                           LETTER TO CLAIMANTS



[Claimant name address]
[Claimant ID number]



      Re:    United States v. Cobb County, Georgia, Civil Action No.:
             ___________


Dear __________________:

       This notice is in response to the Interest-in-Relief Form that you previously
submitted under the terms of the Consent Decree entered by the District Court in
United States v. Cobb County, Georgia, Civil Action No.: __________. You have
been assigned the Claimant ID number referenced above. Please retain this notice
as the Proposed Individual Relief Awards Lists filed with the District Court in this
case references only your Claimant ID number, not your name.

      The United States has made certain preliminary determinations concerning
your eligibility for the relief you requested in your Interest-in-Relief Form. Please
read the following very carefully.

1. MONETARY RELIEF. Based upon your Interest-in-Relief Form, the United
   States has made a preliminary determination that you [ ] are [ ] are not eligible
   for monetary relief.

       [If eligible:] The amount of monetary relief for which you are eligible is
        [$______], less required tax withholdings.

       [If not eligible:] The reason(s) that you are not eligible for monetary
        relief are:
        ___________________________________________________________
        ___________________________________________________________
        ________.


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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA


2. PRIORITY HIRING RELIEF. Based on your Interest-in-Relief Form, the
   United States has made a preliminary determination that you [ ] are [ ] are not
   eligible to seek priority hiring relief, including certain components of retroactive
   seniority based on your retroactive seniority date. Please note:

   [If eligible to seek priority hiring relief:]
       (a) If you are not currently employed as a firefighter with the Cobb County
           Fire Department and you would like to be considered for priority hiring as
           a firefighter, a determination that you are eligible for priority hiring relief
           does not ensure that you will receive a position as a priority hire.

              To be appointed as a priority hire, you must undergo the same
               selection process that the Cobb County Fire Department currently
               conducts to select its firefighters. You must take and pass every step
               in that assessment process to be appointed as a priority hire to a
               future Cobb County Fire Department academy class except that you
               would not need to re-take the ACCUPLACER exam if you took it
               and received a passing score on it within four (4) years of the date
               you would be required to re-take the ACCUPLACER. You will
               receive additional information about that assessment process in a
               separate letter.

              If you are a priority hire and you enter and graduate from the Cobb
               County Fire Department Academy, once you are appointed as a
               firefighter, you will receive certain components of retroactive
               seniority based on a retroactive seniority date of [enter applicable
               date]. This retroactive seniority will be used for calculating your rate
               of pay, accrual of annual leave and any other leave accrued based
               on seniority, determinations for layoffs/reductions in work force,
               and recall from layoffs/reductions in work force. This retroactive
               seniority may not be used to satisfy any applicable probationary
               periods or any time-in-grade minimums required to be eligible for
               promotions, or for purposes of calculating pension benefits.

      (b) If you are currently employed as a firefighter with the Cobb County Fire
          Department, a determination that you are eligible for priority hiring relief
          means that you are eligible to receive the retroactive seniority referenced


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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

          above based on a retroactive seniority date of [enter applicable date].

      [If not eligible for priority hiring relief:]

       If not eligible for priority hiring relief, the reason(s) for this
        determination are:
        ___________________________________________________________
        __________________________________________________________.

3. FAIRNESS HEARING. In addition to the determinations indicated above, the
   United States has made preliminary determinations regarding the nature and
   amount of relief that each of the other individuals who submitted an Interest-in-
   Relief Form should receive under the Consent Decree. The United States has
   submitted its preliminary determinations to the District Court in Proposed
   Individual Relief Awards Lists, identifying you only by your Claimant ID
   number. You may view these lists at [Claims Administrator’s website].

   The United States will ask the District Court to enter the Proposed Individual
   Relief Awards Lists at a Fairness Hearing on Individual Relief which will be
   held on [insert date] at the Richard B. Russell Federal Building and United
   States Courthouse, 2211 United States Courthouse, 75 Ted Turner Drive
   SW, Atlanta, GA 30303. You have the right to attend this Fairness Hearing.
   At or after the Fairness Hearing on Individual Relief, the District Court may enter
   the United States’ determinations or may adjust them with respect to you and/or
   other Claimants under the procedures set forth in the Consent Decree.

4. OBJECTIONS TO THIS PRELIMINARY DETERMINATION. If you
   wish to object to any of the determinations described in this letter in any respect,
   you must take action, as explained in the enclosed “INSTRUCTIONS FOR
   FILING AN OBJECTION TO INDIVIDUAL RELIEF.” Making an
   objection is voluntary, but if you have objections and do not object at this
   time, you may be prohibited from objecting in the future. You may request
   an opportunity to be heard at the Fairness Hearing, but you do not need to appear
   at the Fairness Hearing for the District Court to consider your objections.


                                        Sincerely,



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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA




                                      Claims Administrator



Enclosures: Instructions for Filing an Objection to Individual Relief
            Objection to Determination of Individual Relief




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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

     INSTRUCTIONS FOR FILING AN OBJECTION TO INDIVIDUAL
                           RELIEF

1.     If you wish to object in any respect to the preliminary determinations
       regarding the relief to which you are entitled under the Consent Decree, you
       must do so in the manner described below. Making an objection is
       voluntary, but if you have objections and do not object at this time, you
       will be prohibited from objecting in the future. If you choose to make an
       objection, the Judge will consider your objection before deciding whether to
       enter the types and amounts of relief to be provided to you and other
       individuals under the Consent Decree.

2.     All objections must be sent by e-mail or by U.S. mail and postmarked by
       no later than [insert date] . If your objection is not e-mailed or
       postmarked by this date, your objection may not be considered and you
       may be prohibited from objecting at a later time.

3.     All objections must be made in writing. Your objection must be made on
       the attached form, showing the caption of the case. You must fill out this form
       completely. You must include a description of the nature and basis of your
       objection. If you have retained an attorney to assist you in this matter, please
       indicate with your objection the name, address and phone number of your
       attorney. You may attach additional pages to the form if necessary.

4.     You must submit your objection either:

          a. By U.S. mail to the following address:

             Cobb County Consent Decree Team
             [Claims Administrator]
             [Claims Administrator address]

          b. By e-mail to ____@______[Claims Administrator e-mail address].

          c. Online at www.________________.com [Claims Administrator’s
             website].




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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

5.     The District Court will hold the Fairness Hearing on Individual Relief on
       [insert date]     at the Richard B. Russell Federal Building and United
       States Courthouse, 2211 United States Courthouse, 75 Ted Turner Drive
       SW, Atlanta, GA 30303. You may attend this hearing if you wish, but need
       not attend the hearing to have the District Court consider any written
       objections you submit.

6.     If you have any questions concerning the procedure for submitting an
       objection, you may consult with an attorney of your own choosing and at your
       own expense, or you may contact the Claims Administrator via phone at
       [Claims Administrator phone number] or via e-mail at ___@___[Claims
       Administrator e-mail address].




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                                      APPENDIX D
          UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
_______________________________
                                )
UNITED STATES OF AMERICA, )
                                )
                Plaintiff,      )
v.                              )    Civil Action No.:
                                )
COBB COUNTY,                    )
GEORGIA                         )
                                )
                                )
                Defendant.      )
_______________________________)


      OBJECTION TO DETERMINATION OF INDIVIDUAL RELIEF

      I have received a notice advising me of a preliminary determination regarding
my eligibility for monetary relief, consideration for a priority hire position, or both,
made under the Consent Decree entered by the District Court in this case on
_____________, 2024. I object to this preliminary determination for the reasons set
out below.


PART I. GENERAL INFORMATION:

  Name:                                               Attorney’s Name (if any):

  Claimant ID:
  ___________________________________
  Address:                                            Attorney’s Address:




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                                     APPENDIX D
         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA



 Telephone:                                          Attorney’s Telephone:

 E-mail Address:                                     Attorney’s E-mail Address:


PART II. OBJECTION TO THE PRELIMINARY DETERMINATION:

Basis of my objection:

__________________________________________________________________

__________________________________________________________________

__________________________________________________________________

__________________________________________________________________

__________________________________________________________________

__________________________________________________________________

You may use additional pages to explain the basis of your objection if necessary.


YOU MUST ATTACH A COPY OF ANY DOCUMENTS YOU HAVE
THAT SUPPORT YOUR OBJECTIONS.

Are you requesting the opportunity for you (or your attorney if you have one) to
state your objection in person at the Fairness Hearing on Individual Relief?

             [ ] Yes      [ ] No

[Note: even if you choose not to state your objection in person at the hearing, the
District Court will still consider your objection based on the information you
provide in this form.]



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YOU MUST SEND YOUR OBJECTION(S) TO THE CLAIMS
ADMINISTRATOR AT THE ADDRESS PROVIDED IN THE
INSTRUCTIONS. YOUR OBJECTION MUST BE POSTMARKED OR
E-MAILED BY [DATE].

I CERTIFY under penalty of perjury that the foregoing is true and correct.

__________________________                   Date: ___________________, 2024
Claimant Signature

_______________________________________
Print Name




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                                              APPENDIX E

               UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

                  NOTICE OF INDIVIDUAL RELIEF AWARD

 1.       Why did I get this notice?

On [insert date] , the District Court entered a Final Monetary Awards List and a Final Priority
Hire Claimant List pursuant to the Consent Decree entered by the District Court in United States
v. Cobb County, Georgia, Civil Action No.: ________. You are receiving this Notice because
the District Court has found that you are eligible for an individual relief award of monetary
relief, priority hiring relief with retroactive seniority, or both.

 2.       What must I do to receive my individual relief award?

To receive your individual relief award, you must:

   (a) Properly and completely fill out the enclosed Acceptance of Individual Relief Award and
       Release of Claims form.

   (b) If you are receiving monetary relief, you must also indicate on the Acceptance of Individual
       Relief Award and Release of Claims form whether wages you receive are subject to any
       child support liens.

   (c) If you are receiving monetary relief, properly and completely fill out the enclosed tax
       withholding forms so that appropriate withholdings for federal and state income taxes,
       FICA, and Medicare may be made out of your monetary award. You may be responsible
       for paying any additional employee-side state income taxes if you live in a state other than
       Georgia.

   (d) Return the completed Acceptance of Individual Relief Award and Release of Claims form
       and the completed withholding tax forms to [Claims Administrator] no later than [insert
       deadline] by either:

        (i)       E-mailing your form to [Claims Administrator e-mail address] on or before [insert
                  deadline], or

        (ii)      Mailing your form via U.S. mail so that it is postmarked by [insert deadline] to:

                  Cobb County Consent Decree Team
                  [Claims Administrator]
                  [Claims Administrator address]

If you have any questions, you may consult with an attorney of your choosing and at your own
expense, or you may contact the Claims Administrator via phone at [Claims Administrator phone
number] or via e-mail at ____@____ [Claims Administrator e-mail address.]

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                                          APPENDIX E

          UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA


If your contact information changes at any time, please contact [Claims Administrator] at [Claims
Administrator e-mail address] or [Claims Administrator phone number]. Otherwise, we may be
unable to contact you about your individual relief award.




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                                       APPENDIX F
            UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
_______________________________
                                )
UNITED STATES OF AMERICA, )
                                )
                Plaintiff,      )
v.                              )    Civil Action No.:
                                )
COBB COUNTY,                    )
GEORGIA                         )
                                )
                                )
                Defendant.      )
_______________________________)

 ACCEPTANCE OF INDIVIDUAL RELIEF AWARD AND RELEASE OF
                        CLAIMS

      I,      [insert name]                 (Claimant ID number: [insert Claimant
ID number]), have received notice of the individual relief award offered to me
pursuant to the provisions of the Consent Decree entered by the District Court on
[insert date]          in the above-named lawsuit.

[Add the following paragraph when receiving monetary relief:]

         The MONETARY RELIEF AWARD I am being offered consists of at
least:

                       [insert amount]                  dollars ($ ______.__), less
         required tax withholdings.

I understand that the monetary relief award will be reduced to make the appropriate
withholdings for federal and state income taxes, FICA, Medicare, and any other
amounts required to be withheld by law, such as child support liens. I understand
that I will have to pay any additional employee-side state income taxes that I may
owe if I live in a state other than Georgia.
         * Indicates required.

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                                      APPENDIX F
         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA


I further understand that I must answer the question below regarding child
support liens so that any withholdings required by law for child support liens may
be made from the monetary relief award.
            * I [____] am [____] am not subject to a child support lien.

[Add the following paragraph when receiving priority hiring relief:]

       The PRIORITY HIRING RELIEF I am being offered includes certain
components of retroactive seniority with a retroactive seniority date of
_______________________. If selected as a priority hire, this retroactive seniority
will be used for calculating rate of pay, accrual of annual leave and any other leave
accrued based on seniority, determinations for layoffs/reductions in work force, and
recall from layoffs/reductions in work force. This retroactive seniority may not be
used to satisfy any applicable probationary periods or any time-in-grade minimums
required to be eligible for promotions, or for purposes of calculating pension
benefits.

If I am seeking appointment as a priority hire under the Consent Decree, I understand
that I may not be offered a position as a firefighter even if I am eligible for such
relief. I understand that the County will send me additional information about the
selection process to be appointed as a priority hire with the Cobb County Fire
Department.

[Always include the following paragraphs:]

       In consideration for this award of the relief stated above, I hereby release and
discharge Cobb County, the Cobb County Fire Department, and their officers,
officials, elected officials, employees, agents, insurers, and assigns from all legal
and equitable claims based upon alleged discrimination on the basis of race with
respect to the appointment of African-American applicants into the position of
firefighter in violation of any federal or state statutes, regulations, or executive
orders providing for or giving rise to claims or rights of action relating to equal
employment, including Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e,
et seq., that were, or could have been, the subject of the above-described lawsuit.
The above-named lawsuit was resolved by entry of the Consent Decree by the
District Court on [insert date]      .


      * Indicates required.

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                                      APPENDIX F
         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF GEORGIA

       The release of claims contained herein is not conditioned on my receipt of any
other relief under the Consent Decree.

      I understand that I must properly and completely fill out this “Acceptance
of Individual Relief and Release of Claims” form and return it to the Claims
Administrator no later than [insert date] in order to receive my award.

      I also understand that I must complete and return the enclosed withholding
tax forms so that appropriate withholdings for taxes, FICA, and Medicare may be
made from the monetary relief award.

    I HAVE READ AND UNDERSTAND THIS “ACCEPTANCE OF
INDIVIDUAL RELIEF AND RELEASE OF CLAIMS” FORM. I SIGN THIS
FORM OF MY OWN FREE ACT AND DEED.

             * I ACCEPT THE AWARD: [ ] Yes                     [   ] No

Name:
__________________________________________________________________
        (first)       (middle initial) (last)


* Date Signed                                  * Signature

Return this form and withholding tax forms no later than [DEADLINE] by:

   (a) Mailing it so that it is postmarked by [deadline] to:

             Cobb County Consent Decree Team
             [Claims Administrator]
             [Claims Administrator address]

             OR

   (b) E-mailing it to ___@__ [Claims Administrator e-mail address] on or before
       [deadline]



      * Indicates required.

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